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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9
      UNITED STATES OF AMERICA,

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                           Plaintiff,
                                                             Case No. CR13-54RSL
11
                    v.

12
      SOPHAL LIM,                                            ORDER DENYING MOTION FOR
                                                             RECONSIDERATION
13
                           Defendant.

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           This matter comes before the Court on defendant’s pro se motion for reconsideration of
15
     the Court’s order denying defendant’s motion for modification of his sentence pursuant to 18
16
     U.S.C. § 3582. Dkt. # 256. The Court DENIES the motion for the reasons that follow.
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           In September 2013, defendant Sophal Lim pleaded guilty to various counts related to a
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     conspiracy to manufacture marijuana. Dkt. # 96. On December 9, 2013, the Court sentenced
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     defendant to 60 months’ imprisonment, the mandatory minimum, followed by four years of
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     supervised release. Dkt. ## 150, 171. On December 8, 2014, defendant moved to reduce his
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     sentence pursuant to 18 U.S.C. § 3582 on the basis of Amendment 782 to the United States
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     Sentencing Guidelines; the Court denied this motion in June 2015, Dkt. # 242.
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           On January 17, 2017, defendant moved to modify his sentence under 18 U.S.C. § 3582.
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     That provision authorizes courts to reduce a previously imposed sentence in light of
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     “extraordinary and compelling reasons” warranting such a reduction, the defendant’s advanced
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     age, or subsequent amendments to the Sentencing Guidelines. In his 2017 motion, defendant
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     ORDER DENYING MOTION
28   FOR RECONSIDERATION - 1
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 1   asked the Court to grant him twelve months in a halfway house, followed by six months of home
 2   confinement, so that defendant could take advantage of computer training and career guidance
 3   available at the halfway house. Dkt. # 245. The Court denied defendant’s motion but indicated
 4   that defendant might nonetheless be able to obtain some of the support he seeks through the
 5   terms of his supervised release following his term of imprisonment (anticipated in June 2018).
 6   Dkt. # 254.
 7          In April 2017, defendant filed this motion for reconsideration, arguing that the Court can
 8   and should recommend to the Bureau of Prisons that defendant be placed in a halfway house and
 9   then home confinement for the final eighteen months of his term of imprisonment. Dkt. # 256.
10   The Director of the Bureau of Prisons has the authority to make this determination under 18
11   U.S.C. § 3624(c). While defendant is correct that the Court is free to “recommend” such a
12   determination to the Bureau of Prisons, the Court lacks the authority to order the Bureau of
13   Prisons to reach this determination. Placement in a halfway house and then home confinement
14   may be appropriate for defendant, but the Director of the Bureau of Prisons is best situated to
15   make this decision, and accordingly the Court declines to make the recommendation that
16   defendant requests.
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18          Defendant’s motion for reconsideration (Dkt. # 256) is DENIED.
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20          DATED this 21st day of June, 2017.
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22                                             A
                                               Robert S. Lasnik
23                                             United States District Judge
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27
     ORDER DENYING MOTION
28   FOR RECONSIDERATION - 2
